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                                 CHILD PROTECTION PROTOCOLS

       Article XVIII of the Plan requires the Diocese, and where applicable, the Covered Parties,
to comply with, and fulfill, the following “Child Protection Protocols,” all of which shall be
overseen by the Trust Advisory Committee.1 The Trust Advisory Committee shall serve without
remuneration and the Diocese shall have no obligation to pay the members of the Trust Advisory
Committee for their services on such Committee or reimburse any member of the Trust Advisory
Committee or any professionals retained by them for any expenses.

        The Diocese, and where applicable, the Covered Parties, shall provide an annual
certification and affirmation in writing to the Trust Advisory Committee certifying that they have
strictly complied with all of the following requirements, including that the Bishop has no
knowledge of alleged, reported, admitted or otherwise claimed or substantiated allegations of
Abuse after the Effective Date of the Plan or that any such knowledge has been reported to law
enforcement subject to the applicable privileges protected by Article 5.3 of the 2002 Memorandum
of Understanding filed at docket number 3-3 for a period of four (4) years following the Effective
Date.

        No claim or cause of action shall arise from the failure to comply with, or fulfill, the
following requirements. Rather, the Honorable Jose L. Linares, Chief Judge of the United States
District Court for the District of New Jersey (ret.) (the “Mediator”) shall have the sole and
exclusive jurisdiction to mediate any disputes that arise hereunder other than disputes which arise
under paragraph 6 below, which shall be resolved as set forth therein.2

       1.      Composition of the Diocesan Review Board. Within one-hundred and twenty
(120) days after the Effective Date of the Plan, the Bishop, in consultation with the Trust Advisory
Committee, shall appoint two survivors of sexual abuse (each a “Survivor”) to the Diocesan
Review Board.3 Two Survivors shall remain at all times on the Diocesan Review Board. Any
successor Survivor(s) will be appointed at the Bishop’s discretion but in consultation with the
Trust Advisory Committee so long as it remains in existence, and after it disbands, in consultation
with a non-profit organization whose mission includes supporting or advocating for survivors of
child abuse; provided however, if two (2) Survivors are not available or will not participate in a
meeting of the Diocesan Review Board, such absence will not affect the determinations of the
Diocesan Review Board.

         2.       Postings, Public Statements and Announcements.



1
         Capitalized terms used but not defined herein have the meaning ascribed to such term in the accompanying
         SeventhEighth Amended Plan of Reorganization.
2
         To the extent that Judge Linares is not available, the parties will agree on a new or substitute Mediator. If
         the parties cannot agree after conferring in good faith, the parties shall jointly ask the Chief Judge of the
         United States Bankruptcy Court for the District of New Jersey to serve as Mediator or select a person whom
         he or she chooses after reasonable input from the parties.
3
         Consultation shall not be interpreted to mean that the Trust Advisory Committee has the power to designate
         any particular person or persons.
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         The Diocese hereby agrees to:

                  •        Continue posting the names of all known diocesan priests, nuns, teachers
                           and/or other agents for whom childhood sexual abuse allegations were
                           substantiated, admitted, or otherwise determined to be credible on the
                           Diocese website for not less than 25 years after the Effective Date of the
                           Plan.4
                  •        Continue publishing the names of the diocesan priests who have been
                           restricted from presenting themselves as priests as a result of credible
                           childhood sexual allegations.
                  •        Issue a public statement, which statement shall be reviewed and commented
                           on by the Diocesan Review Board in advance, acknowledging that the
                           Bishop is grateful that Survivors came forward.5
                  •        Make an announcement on the Diocese website, which announcement shall
                           be reviewed and commented on by the Diocesan Review Board in advance,
                           of (i) the full and complete release of all Survivors from any previous
                           confidentiality requirement and (ii) a commitment and promise not to
                           require any confidentiality provision concerning the sexual perpetrators or
                           factual circumstances surrounding sexual abuse going forward, except upon
                           written request of a settling Survivor. Confidentiality shall be respected
                           only to preserve the identity or privacy of the Survivor.
                  •        For a period of two (2) years after the Effective Date, allow Survivors to
                           publish their stories of abuse not to exceed 500 words in the Catholic Star
                           Herald, subject to reasonable editing by the Catholic Star Herald.
                  •        Provide contact information on the Diocese website for anonymously
                           reporting abuse complaints and continue the Diocese’s current
                           whistleblower policy.
                  •        Issue letters of apology to Survivors who request such letters.
                  •        Display in each diocesan or parish school appropriate signage stating that
                           sexual abuse of children and young people by any person, including priests,
                           in that parish, church or school or anywhere, shall not be tolerated and
                           advising that any report or complaint of child sexual abuse will be fully
                           investigated in a manner that respects and protects the victim of such abuse.
       3.     Compliance with the Charter and the Procedures Previously Implemented by
the Diocese. The Diocese shall continue to strictly comply with (i) the Charter for the Protection
of Children and Young People and the Essential Norms for Diocesan Policies Dealing with


4
         A credible allegation is one that after review of available and relevant information, there is reason to believe
         the allegation may be true as determined by the Bishop.
5
         This requirement was satisfied by the Diocese’s press release issued on April 19, 2022.
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Allegations     of     Sexual     Abuse     of     Minors       by      Priests    or      Deacons
(http://camdendiocese.org/images/safe_enviorment_office/B_Essential_Norms.pdf)                 (the
“Charter”) and any future documents issued by the U.S. Conference of Catholic Bishops and (ii)
the following guidelines and procedures, most of which are set forth in the Declaration of Reverent
Robert E. Hughes filed in this case
               •      Entered into compacts with the county prosecutors and the New Jersey
                      Attorney General (the 2002 Memorandum of Understanding).
                  •     Fingerprint-facilitated criminal history background checks for every adult
                        having regular contact with minors.
                  •     Zero tolerance policies.
                  •     Every adult having regular contact with minors is required to take a safe
                        environment training program.
                  •     Utilization of the VIRTUS child abuse training awareness program entitled
                        “Protecting God’s Children.”
                  •     Required retraining every five years.
                  •     Continuation of payment for therapy for all who have been harmed subject
                        to Paragraph 4 below.
                  •     Continued vigorous implementation of child protection programs, including
                        mandatory psychological evaluations of new members of the Diocese
                        clergy (seminarians, clergy transfers etc.) through the administration of the
                        Child Abuse Protection Inventory (CAPI) and the Minnesota Multiphasic
                        Personality Inventory (MMPI - latest edition) by a clinician independent
                        from any association with the Diocese.
                  •     Continued retention of StoneBridge Business Partners, or other reputable
                        auditor. required to comply with the USCCB’s Charter for the Protection of
                        Children and Young People, which shall provide the Trust Advisory
                        Committee with its written audit no less than thirty (30) days after its
                        submission to the Diocese.
       4.      Therapy. Continue the Diocese’s current policy to pay all therapeutic costs of
Survivors as administered by the Victim Assistance Coordinator for 25 sessions subject to increase
upon determination by the Clinical Advisory Panel, after consideration of the recommendation of
the Survivors’ therapists. Therapy shall be provided to Survivors regardless of whether a claim or
cause of action is asserted against a Covered Party by a Survivor.

         5.       Training, Protocols and Procedures.
                  •     Continued Diocese retention of a Victim Assistance Coordinator and
                        implementation of the VIRTUS Program to, inter alia, develop, publish,
                        and implement mandatory child abuse prevention protocols and procedures
                        to be adopted by the Diocese, and to be reviewed annually, which shall
                        include:

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                          •       All diocesan seminarians being required to attend a seminary which
                                  contains curriculum concerning child abuse prevention.
                          •       Mandatory training on child abuse prevention in all schools and
                                  religious educational programs.
                          •       Continued development, publication, and implementation of its
                                  child abuse prevention/safe environment curriculum for all Catholic
                                  Schools and religious education programs.
                          •       Continued distribution of information on how to report sexual abuse.
                          •       Distribution of the Code of Ethical Standards to all clergy.
                          •       Continued addressing of topics of sexual abuse of minors,
                                  prevention, detection and reporting of same in the seminary
                                  formation program.
                          •       Implementation of a Diocese policy requiring that the Bishop,
                                  diocesan leaders and diocesan spokespersons refer to clergy abuse
                                  survivors as “abuse survivors,” “survivors of clergy sexual abuse,”
                                  “victims of clergy sexual abuse,” or other term(s) recommended by
                                  abuse survivor advocates, and not refer to substantiated abuse
                                  survivors as “alleged.”
                          •       For 25 years, the Diocese will continue to provide information to
                                  parishes and schools about reporting child sexual abuse.
                  •       A commitment to never seek to eliminate the New Jersey existing
                          mandatory child abuse reporting statutory requirements.
                  •       The Bishop has been and will continue to be available for private
                          conferences with Survivors upon reasonable notice.

         6.       Document Production

               A.      Within one hundred twenty (120) days after the later of (i) the date upon
which all Claims are settled or otherwise resolved with all of the Diocese’s insurers (the
“Litigation Cessation Date”) and (ii) the Effective Date, or (iii) as otherwise agreed between the
Diocese and the Trust Advisory Committee, the Diocese will make available to the Trust Advisory
Committee copies of the documents maintained by the Diocese (a) on all clergy (ordained or
religious orders) and other agents, employees or volunteers who were included as perpetrators of
sexual     abuse     on      the    Diocese     of     Camden        Clergy     Disclosure    List
(https://camdendiocese.org/clergylist/) because allegations of Abuse of a minor or young adult
have been admitted, substantiated or determined or considered to be credible (the “Credibly
Accused List”) and (b) setting forth all policies and procedures that the Diocese had in place to
protect children and others from Abuse by any agent or representative of the Diocese.6 The


6
         The documents to be produced include the Separate Archive Files maintained by the Diocese.
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Diocese may redact and/or remove from such production any privileged information, including
attorney-client privileged, work product privileged information, unrelated personal information
and communications, and medical information to the extent such information is not related to
Abuse and any other information subject to privileges under New Jersey state or federal law (the
“Removed Documents or Information”).

                 B.      The Diocese will identify for the Trust Advisory Committee the Removed
Documents or Information in a detailed log that identifies with sufficient particularity the nature
of the Removed Documents or Information. The Trust Advisory Committee and the Diocese agree
to work cooperatively and in good faith to resolve any dispute regarding the Removed Documents
or Information. If an agreement cannot be reached between the Diocese and the Trust Advisory
Committee on any dispute regarding any Removed Documents or Information, the Honorable Jose
L. Linares (ret.) (the “Arbitrator”) will make a determination as to whether good cause exists to
for the Diocese to provide the disputed Removed Documents or Information to the Trust Advisory
Committee and/or publicly release the Removed Documents or Information. Both the Trust
Advisory Committee and the Diocese will have the opportunity to submit their positions on the
Removed Documents or Information to the Arbitrator, and the Arbitrator will make a
determination, within 30 days of receiving the parties’ submissions, whether good cause exists to
publicly release the Removed Documents or Information. The decision of the Arbitrator as to the
release of the Removed Documents or Information will be binding and final. Notwithstanding the
foregoing provisions as to Removed Documents or Information, the Arbitrator shall not make any
determinations as to any Removed Documents or Information, and no Removed Documents or
Information shall be released, until the conclusion of the New Jersey Attorney General’s Clergy
Abuse Task Force investigation. Any perpetrator of sexual abuse named on the Credibly Accused
List, or their respective attorney, agent, estate, executor, or otherwise, shall be noticed by the Trust
Advisory Committee of the proceeding before the Arbitrator on no less than thirty (30) days’
written notice and shall have a right to appear and be heard by the Arbitrator as to the release of
any information, whether privileged or not, in that perpetrator’s file. Nothing herein shall limit
the rights of any perpetrator named on the Credibly Accused List from asserting any legal,
equitable, or other rights with respect to the documents in that perpetrator’s file referenced in this
section 6.

                C.     Within one hundred twenty (120) days after the later of (i) the Litigation
Cessation Date; (ii) the Effective Date; and/or (iii) as otherwise agreed between the Diocese and
the Trust Advisory Committee, the Diocese will make available to the Trust Advisory Committee
all documents maintained by the Diocese related to any claim of sexual abuse of a minor (i) that
was asserted prior to the Effective Date but (ii) that did not meet the credible standard set forth in
footnote 2 above (the “Disputed Documents”). The Disputed Documents will be subject to
procedures set forth in this Paragraph 6 (including removal of Removed Documents or
Information). The Trust Advisory Committee will have a reasonable period of time to notify the
Diocese after receipt of the Disputed Documents, in writing, if the Trust Advisory Committee
believes that any of the Disputed Documents should be made public. The Diocese will have a
reasonable time after receipt of the Trust Advisory Committee’s written notification pursuant to
the preceding sentence to notify the Trust Advisory Committee, in writing, of its objection to
public release of any Disputed Documents. The Trust Advisory Committee will not publicly
release any of the Disputed Documents unless the Diocese affirmatively permits the public release
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in accordance with the terms of this Paragraph 6.C. in writing or the Arbitrator has determined that
the Trust Advisory Committee can release the Disputed Documents as set forth below. The Trust
Advisory Committee and the Diocese agree to work cooperatively and in good faith to resolve any
dispute regarding the Disputed Documents. If an agreement cannot be reached between the
Diocese and the Trust Advisory Committee on any dispute regarding any Disputed Documents,
the Arbitrator will make a determination as to whether good cause exists to for the Diocese to
provide the disputed Removed Documents or Information to the Trust Advisory Committee and/or
publicly release the Disputed Documents. Each of the Trust Advisory Committee and the Diocese
will have the opportunity to submit their positions on the Disputed Documents to the Arbitrator,
and the Arbitrator will make a determination within 30 days of receiving the parties’ submissions
whether “good cause” exists to deem the allegation a credible accusation and, therefore, publicly
release the Disputed Documents. The decision of the Arbitrator as to the release of the Removed
Documents or Information will be binding and final and not subject to appeal or challenge of any
kind. Notwithstanding the foregoing provisions as to Removed Documents or Information, the
Arbitrator shall not make any determinations as to any Removed Documents or Information, and
no Removed Documents or Information shall be released, until the conclusion of the New Jersey
Attorney General’s Clergy Abuse Task Force investigation. Any alleged perpetrator of sexual
abuse whose file is the subject of this section or his respective attorney, agent, estate, executor, or
otherwise, shall be noticed by the Trust Advisory Committee of the proceeding before the
Arbitrator on no less than thirty (30) days’ written notice and shall have a right to appear and be
heard by the Arbitrator as to the release of any information, whether privileged or not, in that
priest’s file. Nothing herein shall limit the rights of any priest named on the Credibly Accused
List from asserting any legal, equitable, or other rights with respect to the documents in that priest’s
file referenced in this section 6. Nothing contained herein shall relate to or require the production
of any files related to non-Diocesan priests or personnel.

               D.     The parties’ expectation is that the Diocese or the Trust will publicly release
any documents provided under paragraph 6.A, any documents that the parties agree can be made
public in accordance with paragraphs 6.B and 6.C, and any documents determined by the
Arbitrator to be appropriate for public release under paragraphs 6.B and 6.C.




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